   Case 1:17-cv-02374-RRM-ST Document 21 Filed 07/24/17 Page 1 of 1 PageID #: 151
                                  In Memoriam Richard H. Gens, Esq. 1929-1998
                                          GENS, BAYSAN, P.C.
                                    BOSTON – NEW YORK CITY – SAN FRANCISCO
                                     _________________________________________
                                                                                             th         th
192 South Street, Suite 300                     Richard Langweber                       535 5 Avenue, 25 Floor
Boston, MA 02111                           rlangweber@weglawfirm.com                       New York, NY 10017
tel. 617-936-4591                                tel. 917-965-2105                            tel. 917-965-2105
fax. 617-451-7879                                                                            fax. 917-720-9030
                                           NEW YORK CITY OFFICE
                                               www.weglawfirm.com


         Honorable Roslynn R. Mauskopf
         United States District Judge, EDNY
         225 Cadman Plaza East
         Brooklyn, NY 11201

         RE: Capital 7 Funding v. Rabito et. al., 17-CR-2374; Motion for Extension of Time to
         File Pre-Motion to Dismiss Letter

         Your Honor:

                 My name is Richard Langweber, and I am a member of William E. Gens Law
         Offices. We represent individual defendants JOSEPH RABITO and DAMIAN LALJIE,
         as well as corporate defendants PRESTIGE INVESTMENT ASSOCIATES, INC., and
         FIRST CHOICE PAYMENT SYSTEMS. I am writing to respectfully request that our
         time to file a Pre-Motion to Dismiss Letter pursuant to the Court’s Individual Rules of
         Practice III(A)(2), or to otherwise answer the Complaint on file, be extended until July
         31, 2016.

                 I have discussed this matter with Nicholas Bowers, Esq., counsel for the Plaintiff
         in this matter. Mr. Bowers has indicated that the Plaintiff consents to this request, so
         long as the defendants we represent waive any defense based upon a lack of personal
         jurisdiction and improper service of process. If the Court grants this request, we will so
         waive those defenses.

                 This is our first request for an extension of time in this matter. The Court’s time
         and attention to this matter are greatly appreciated. Please do not hesitate to contact me
         with any questions, comments, or concerns.

         Sincerely,


         /s/ Richard Langweber
         Richard M. Langweber, Esq.
         William E. Gens Law Offices
         535 Fifth Ave., 25th Floor
         New York, NY 10017
         P: (917) 965-2105
         F: (917) 720-9030
         C: (508) 245-9566
         rlangweber@genslawoffices.com
